Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 1 of 22




                EXHIBIT A
        Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 2 of 22




                           COMMONWEALTH OF MASSACHUSETTS
ESSEX, S.S.                                          SUPERIOR COURT
                                                     CIVIL ACTION NO.:

                                                     )
JAMES VASALOFSKY                                     )
                                                     )
                                                     )
                                                     )
               Plaintiff                             )
v.                                                   )
                                                     )
JOHNSON CONTROLS, INC.                               )
                                                     )
                                                     )
               Defendant.                            )
                                                     )

                              COMPLAINT & JURY DEMAND

       This Complaint seeks the recovery of Plaintiff’s unpaid wages arising from the Defendant’s

failure to pay prevailing wage rates in violation of M.G.L. c. 149 §§26-27.

                                       INTRODUCTION

       Plaintiff is a present employee of Johnson Controls, Inc., a Wisconsin Corporation doing

business throughout Massachusetts with primary offices in Lynnfield, Massachusetts. Plaintiff

seeks damages for unpaid wages earned on Massachusetts public works sites beginning more than

six years ago. Plaintiff was hired by the Defendant in 2011. Plaintiff performed HVAC technician

services as an employee of the Defendant from 2011 to present date at prevailing wage sites

including, but not limited to, UMASS Amherst, Springfield Community College, and Greenfield

Community College. Plaintiff is a non-union employee. For all hours worked on these various

prevailing wage projects between 2011 and present date, Plaintiff was paid at various rates ranging

from $39.50 to $46.63. The state prevailing wage rate for the labor the Plaintiff provided at these

various prevailing wage sites ranged from $64.56 to $72.31, perhaps more. Plaintiff was rarely, if
          Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 3 of 22




ever, paid these prevailing wage rates. Defendant failed to pay the Plaintiff more than $130,000.00

in prevailing wages during this period.

                                            PARTIES

         1.    James Vasalofsky is a resident of Massachusetts, domiciled at 49 High St, South

Barre, County of Worcester, Commonwealth of Massachusetts.

         2.    Johnson Controls, Inc. is a Wisconsin Corporation doing business throughout

Massachusetts with primary Massachusetts offices located in Lynnfield, Massachusetts, County of

Essex, at 39 Salem Street and a principal place of business at 5757 N. Green Bay Ave., Milwaukee,

WI. Its Resident Agent is C T Corporation System, 301 S. Bedford St. Suite 1, Madison, WI,

53703.

                            FACTS COMMON TO ALL COUNTS

         3.    Plaintiff James Vasalofsky (“Mr. Vasalofsky”) began working for the Defendant in

November of 2011.

         4.    Plaintiff was hired by the Defendant as an HVAC Technician.

         5.    At the time of his hire, Defendant described Plaintiff’s role as an HVAC Technician

to involve the following duties:

              “Perform HVAC Control systems programming, troubleshooting,
              installation, commissioning, and preventative maintenance as it is related to
              mechanical, electrical, and low voltage controls components. Respond to
              service and warranty calls using Johnson Controls configuration and
              commissioning tools as well as a variety of hand tools including electrical
              testing meters and other electronic testing equipment. Provide front line
              technical and repair support through effective communications with Johnson
              Controls customers. Provide system repair and or update recommendations
              and assist in proposing of recommendations to Johnson Controls customers.”

         6.    At the time of his hire, Defendant indicated that Plaintiff would, in relevant

part, perform these duties as follows:




                                                 2
         Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 4 of 22




                “Loading Johnson Controls field and network level controller software,
                 Performing commissioning and system diagnostics for all levels of system
                 controllers as well as end devices (i.e. Sensors, actuators, etc.) and
                 complete all required commissioning documentation, Calibrates systems
                 requiring basic electronic test equipment”

       7.       Beginning in 2011 and lasting through present date, Plaintiff was frequently

dispatched by the Defendant to Massachusetts prevailing wage sites to perform HVAC technician

services. These prevailing wage sites included, but were not limited to, UMASS Amherst,

Springfield Community College, and Greenfield Community College.

       8.       At each of these sites, Plaintiff performed work as an HVAC Technician that

included, without limitation, replacing and repairing HVAC components, installing,

troubleshooting, and updating HVAC software, testing and repairing HVAC systems, wiring and

programming new HVAC system valves, switches, sensors, actuators, fans, coolers, and

controllers.

       9.       Plaintiff is a non-union employee.

       10.      At all times relevant, the Defendant paid Plaintiff hourly wage rates ranging from

$39.50 to $46.63, and less.

       11.      At all times relevant, state prevailing wage rates at the sites Plaintiff performed

HVAC Technician work as an employee of the Defendant ranged from $64.56 to $72.31, or more.

Plaintiff was rarely, if ever, paid this prevailing wage rate by the Defendant between 2011 and

present date.

       12.      During the approximate time period of the statute of limitations set forth in M.G.L.

c. 149, §26-27, Plaintiff worked in excess of 5,000 hours on prevailing wage sites for which he

was rarely, if ever, paid appropriate prevailing wages.

       13.      Defendant failed to pay the Plaintiff more than $134,000 in prevailing wages during




                                                 3
         Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 5 of 22




this period alone.

       14.     In September of 2021, Plaintiff complained to his manager about the Defendant’s

failure to properly pay him prevailing wages as required by M.G.L. c. 149, §26-27.

       15.     At first, the Defendant delayed their response to Plaintiff’s prevailing wage

complaint. After multiple follow up complaints directly to the Defendant’s prevailing wage

department, the Defendant finally began paying the Plaintiff prevailing wages in late 2021 and

early 2022. Shortly thereafter, however, the Defendant stopped properly paying the Plaintiff

prevailing wages without explanation.

       16.     Despite numerous requests and follow up, the Defendant has not paid the Plaintiff

the prevailing wages he is owed as described herein.

       17.     As required by M.G.L. c. 149, §27, Plaintiff filed a complaint with the Fair Labor

Division of the Massachusetts Attorney General’s Office. On January 25, 2022, Plaintiff received

correspondence from the Attorney General’s Office granting him the right to pursue a private right

of action.

       18.     On at least two occasions, the Massachusetts Executive Office of Labor and

Workforce Development, Division of Occupational Safety (DOS), has issued advisory letters

clearly indicating that the work Plaintiff performed as an HVAC Technician is subject to the

Massachusetts prevailing wage law. These advisory letters are attached to this Complaint as

Exhibit A and Exhibit B and are fully incorporated herein by reference.

       19.     As the state agency charged with administering and interpreting Massachusetts’

prevailing wage law, this Court gives deference to the Executive Office of Labor and Workforce

Development in its interpretation of the prevailing wage statute. Niles v. Huntington Controls,

Inc., 92 Mass. App. Ct. 15, 21 (2017).




                                                4
         Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 6 of 22




                        The Plaintiff’s Statute of Limitations was Tolled for all Counts

       20.       On May 26, the Supreme Judicial Court entered the Second Updated Order

Regarding Court Operations Under the Exigent Circumstances Created by the COVID-19

(Coronavirus) Pandemic and tolled all civil statutes of limitations from March 17, 2020, through

June 30, 2020.

       21.       On June 24, 2020, 31, the Supreme Judicial Court entered the Third Updated Order

Regarding Court Operations Under the Exigent Circumstances Created by the COVID-19

(Coronavirus) Pandemic and provided instructions on the method to calculate new statute of

limitation expiration dates for civil claims: “[t]he new date for the expiration of a statute of

limitation is calculated as follows: determine how many days remained as of March 17, 2020, until

the statute of limitation would have expired, and that same number of days will remain as of July

1, 2020 in civil cases[.]”

       22.       On September 3, 2021, the Supreme Judicial Court confirmed that this order tolling

civil statutes of limitations applied to “all causes of action for which the relevant limitations period

ran for some period between, or through, those dates.” Shaw’s Supermarkets, Inc. v. Melendez,

488 Mass. 338, 362-63 (2021).

       23.       As a result of these tolling orders, Plaintiff’s G.L. c. 149, §27 statute of limitations

concerning the Defendant’s prevailing wage violations goes back more than three years from the

date of filing of Plaintiff’s Complaint. Claims accruing more than three years ago are still

actionable.

       24.       Likewise, as a result of these tolling orders, Plaintiff’s contract based claims

concerning the Defendant’s prevailing wage violations go back more than six years from the date




                                                    5
           Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 7 of 22




of filing. Contract claims accruing more than six years ago are still actionable.

                                                 COUNTS

                           COUNT I - UNPAID PREVAILING WAGES
                                      M.G.L. c. 149 § 27

          25. Plaintiff restates and realleges the statements in Paragraphs 1-24 as if fully set forth

herein.

          26. The prevailing wage rates at the sites Plaintiff worked at from 2018 to present date

ranged from ranged from $64.56 to $72.31, or more.

          27. Defendant failed to pay said rate of prevailing wages and, instead, paid Plaintiff wage

rates ranging from $39.50 to $46.63, or less.

          28. Plaintiff worked more than 5,000 hours on prevailing wage sites during this period of

time for which he was not paid prevailing wages

          29. The Defendant’s failure to pay Plaintiff prevailing wages caused him to forego in

excess of $134,000 in unpaid prevailing wages to which he was lawfully entitled.

          30. Plaintiff filed a complaint with the Attorney General's Office concerning his unpaid

prevailing wages. On January 25, 2022, Plaintiff received correspondence from the Attorney

General’s Office granting him the right to pursue a private right of action.

          31. Accordingly, pursuant to M.G.L. c. 149, §27, Plaintiff brings suit for damages and

unpaid prevailing wages, including mandatory treble damages, interest, attorneys’ fees, and costs.

          32. Plaintiff’s trebled damages exceed $400,000.

          COUNT II – BREACH OF CONTRACT & IMPLIED COVENANT OF
                        GOOD FAITH AND FAIR DEALING

          33. Plaintiff repeats and realleges paragraphs 1-32 as if fully set forth herein.

          34. Defendant entered into an employment relationship with the Plaintiff.




                                                    6
         Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 8 of 22




        35. Even at will, the employment relationship in Massachusetts is contractual in nature.

        36. Defendant breached that contractual relationship when they failed to pay Plaintiff

Prevailing wages, and likewise breached the implied covenant of good faith and fair dealing.

        37. Defendant’s repeated breach of contract, and their repeated breach of the implied

covenant of good faith and fair dealing, caused great financial harm to the Plaintiff.


                                COUNT III – UNJUST ENRICHMENT

        38. Plaintiff repeats and realleges each allegation set forth in paragraphs 1-37

as if fully set forth herein.

        39. Plaintiff provided labor to the Defendant from which it derived a measurable benefit.

        40. Defendant benefitted from Plaintiff’s labor and, with each failure to pay prevailing

wages, failed to pay the Plaintiff amounts he was then owed.

        41. Defendant accepted the benefit of the Plaintiff’s labor and yet failed to pay him as

law required as was his expectation.

        42. Defendant has been unjustly enriched for every hour that they failed to pay Plaintiff

prevailing wages and have, to date, retained the benefit of that enrichment and, as set forth

above, that enrichment was unjust and came at the expense of Plaintiff.

        43. Defendant has therefore been unjustly enriched at the expense of Plaintiff and said

unjust enrichment has caused Plaintiff damages.


                                         JURY DEMAND

        Plaintiff demands trial by jury on all claims so triable to fullest extent allowed by law.




                                                  7
       Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 9 of 22




                                   PRAYER FOR RELIEF

WHEREFORE,

      Plaintiffs request that this honorable court:

      1. Award damages incurred for any lost prevailing wages and other benefits;

      2. Award treble damages, as liquidated damages, pursuant to M.G.L. c. 149 §27 for all

         unpaid prevailing wages,

      3. Award compensatory damages in the greatest amount supported by the law, the

         evidence, and the Court’s subject matter jurisdiction;

      4. Award special, punitive or exemplary damages to the fullest extent allowed by law;

      5. Award interest, costs and attorneys’ fees; and

      6. Such additional relief as is fair and just.



                                             Respectfully Submitted,

                                             PLAINTIFF

                                             James Vasalofsky

                                             By his attorney:



                                             ________________________________

                                             Michael R. Harriman, BBO No. 680061
                                             Harriman Law
                                             One Beacon Street, 15th Floor
                                             Boston, MA 02108
                                             617-482-1723
                                             mharriman@harriman-law.com

Dated: May 3, 2022


                                                 8
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 10 of 22




     EXHIBIT
        A
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 11 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 12 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 13 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 14 of 22




     EXHIBIT
        B
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 15 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 16 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 17 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 18 of 22




                EXHIBIT B
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 19 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 20 of 22
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 21 of 22




                EXHIBIT C
Case 1:22-cv-11021-DJC Document 1-3 Filed 06/28/22 Page 22 of 22
